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             EXHIBIT B




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 1   I, Dr. Julie DeAun Graves, declare as follows:
 2
 3     1. This declaration is based on my personal knowledge, except as to those matters
 4   based on information and belief, which I believe to be true. If called to testify in this case,
 5   I would testify competently about these facts.
 6     2. My name is Julie DeAun Graves. I am a physician licensed to practice medicine in
 7   the states of Florida, Maryland, New Jersey, Texas, Virginia, Wisconsin, and in the
 8   District of Columbia. I am currently working in family medicine and public health private
 9   practice as the Associate Director of Clinical Services at Nurx. I have been certified by
10   the American Board of Family Medicine since 1989.
11     3. I am a public health physician, previously serving as Regional Medical Director for
12   the Texas Department of State Health Services for the Houston region, as Medical
13   Services Coordinator for the Texas Department of Aging and Disability Services, and as
14   a medical consultant to the Texas Medical Board. I managed the H1N1 influenza
15   outbreak for the Texas State Supported Living Centers and oversaw public health efforts
16   for the Houston region (population seven million) for Ebola virus, Zika virus, West Nile
17   virus, highly pathogenic avian influenza, tuberculosis outbreaks, and natural disasters.
18     4. I obtained my medical degree and completed a surgical internship then family
19   medicine residency at the University of Texas Southwestern Medical School in Dallas,
20   Texas, then completed a fellowship in faculty development at the McLennan County
21   Medical Education and Research Foundation in Waco, Texas. I earned a Master’s degree
22   in Public Health and a Doctor of Philosophy in Management, Policy, and Statistics at the
23   University of Texas School of Public Health. I have practiced family medicine and public
24   health since 1989, and in 2018-2019 I was Associate Professor and Vice-Chair for
25   Education at Georgetown University School of Medicine. At Nurx I care for patients
26   seeking contraception, HIV (human immunodeficiency virus) prevention, sexually
27   transmitted infection diagnosis and treatment, cervical cancer screening, and coronavirus
28   (SARS-CoV-2, the virus that causes COVID-19) testing and treatment. I am a former

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 1   member of the Public Health Committee of the Texas Medical Association and a former
 2   member of the Executive Board and current Governing Councilor of the American Public
 3   Health Association.
 4     5. During my over 30 years of medical practice I have cared for immigrant
 5   populations in Florida, Maryland, Texas, Wisconsin, and Washington, DC, and I am co-
 6   author of a research journal article about migrant workers’ health. While serving as
 7   Regional Medical Director for the Texas Department of State Health Services I
 8   collaborated with Department of Health and Human Services Office of Refugee
 9   Resettlement (ORR) facilities on investigations and control of tuberculosis and measles
10   cases among detainees and provided public health services to those detainees and their
11   families. I am familiar with ORR facilities and the conditions faced by detained children
12   and by the staff members who work there. In August of 2019 I volunteered with a
13   Catholic Charities facility in Laredo, Texas and provided medical care to people just
14   released from detention in Customs and Border Patrol (CBP) facilities. I observed the ill
15   health, exhaustion, and malnutrition evident in these people. Additionally, because of my
16   work as Medical Services Coordinator for the Texas Department of Aging and Disability
17   Services overseeing health care in the State Supported Living Centers, which are
18   congregate living settings, I am familiar with the risks to residents and staff from any
19   infectious disease, and particularly those with high infectivity, such as this coronavirus
20   SARS-CoV-2. I attach a copy of my curriculum vitae.
21
22   COVID-19
23     6. COVID-19 is an illness caused by the SARS-CoV-2 virus, which is a novel
24   coronavirus that was first detected in humans during the outbreak (now a pandemic) we
25   are experiencing now. The Centers for Disease Control and Prevention reports that as of
26   March 24, 2020 at 6:00 a.m, there are 46,481 cases reported in the United States, with
27   cases reported in every state, and there are 593 reported deaths so far. See
28

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 1   www.arcgis.com/apps/opsdashboard/index.html#/bda7594740fd40299423467b48e9ecf6.
 2   On March 18, 2020, there were 7,038 cases reported and 150 deaths.
 3     7. The United States is in the early stages of the pandemic, and because there has
 4   been insufficient testing for cases, the reported cases numbers are lower than actual cases,
 5   despite the high probability that there are many more infected individuals in the
 6   population. The spread of the virus is faster and more dangerous when people are in close
 7   quarters. People with health conditions such as diabetes, asthma, emphysema, heart
 8   disease, kidney disease, pregnancy, diabetes, cancer, HIV, and autoimmune diseases such
 9   as lupus and rheumatoid arthritis are at higher risk for severe illness, complications, and
10   death from COVID-19. People over age 60 have higher death rates, but severe cases of
11   illness and deaths are reported in people of all ages, including children. The ratio of cases
12   of COVID-19 to deaths from this illness is much higher than for other contagious
13   diseases such as influenza. The SARS-CoV-2 virus damages the lung tissue, which
14   means that even those who recover need prolonged medical care and rehabilitation. They
15   are likely to have permanent disability from loss of lung capacity. The heart itself can be
16   infected, and kidneys and the nervous system can also be impacted and damaged
17   permanently.
18     8. There is no vaccine and no treatment for COVID-19. We only have prevention as a
19   tool to stop the pandemic. If people remain in congregate settings, most of them plus the
20   staff who work with them will become infected, and many will die or have permanent
21   disability. COVID-19 is transmitted from person to person by breathing in expired air
22   that contains the droplets an infected person has coughed or the virus they have shed, or
23   by touching a surface with the virus on it, unless there is full personal protective
24   equipment: mask, gloves, gown, plus thorough hand washing before putting on the
25   equipment and after removing it. The only way to avoid transmission is for people to
26   distance themselves at least six feet from others (commonly referred to as “social
27   distancing” or “physical distancing”). People should not be in large buildings full of
28   many people, and people must practice frequent and thorough hand washing with

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 1   adequate soap and water. If we do not implement these two steps – physical distancing
 2   and hand washing – the pandemic will only continue to spread and the number of deaths
 3   will continue to increase.
 4     9. There is a national shortage of COVID-19 tests. Medical providers cannot test
 5   everyone who they believe should be tested, and so are presuming that people with a
 6   certain set of symptoms are positive. This is an appropriate and common situation with
 7   new infectious diseases and is a widely recognized strategy in public health disease
 8   control. Individuals and communities should not rely solely on the criteria of a positive
 9   COVID-19 test to implement precautions or quarantine symptomatic persons. A public
10   health response requiring widespread preventive measure of physical distancing and
11   appropriate hand washing is our only tool to slow the spread of the virus.
12
13   HHS Facility Conditions
14     10. I am advised that Department of Health and Human Service Office of Refugee
15   Resettlement (ORR) typically houses many dozens, and in some cases hundreds, of
16   children in congregate facilities, where they share toilets, sinks, and showers, eat
17   together, participate in recreation and classroom instruction together, sleep in common
18   rooms, and have inadequate space to permit recommended physical distancing. In my
19   opinion, under current pandemic conditions such congregate settings are inherently
20   unsafe and unsanitary, and they become increasingly dangerous in proportion to the
21   number of children whom ORR places in such facilities. Other commonly reported
22   conditions, such the frequency of rotating staff members, further increase the risk that
23   children will contract COVID-19.
24     11. Congregate care facilities holding large numbers of people are particularly
25   dangerous during a pandemic. Physical distancing of six feet between all people is
26   essential to preventing the spread of COVID-19 disease. The virus is transmitted in
27   respiratory droplets and can hang in the air for several minutes – due to its tiny size (one
28   micron diameter) and its very light weight. The virus also can live on metal, glass,

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 1   plastic, concrete, and other surfaces for up to ten days and maintain its infectivity.
 2   Consistently maintaining the appropriate distance of six feet in addition to adequate
 3   cleaning of all surfaces is not possible in such facilities.
 4
 5   Immigrant Population Vulnerabilities
 6     12. Immigrants, particularly recently arrived children, are at particular risk of
 7   contracting COVID-19. Common health problems afflicting children in different forms
 8   of immigration custody (CBP, ICE, and ORR) include malnutrition, asthma, heart
 9   disease, immunosuppression, inadequate vaccination, diarrheal illness, sleep disorders,
10   post-traumatic stress disorder, exhaustion, and seizure disorders. People with these
11   health issues are among those at high risk for serious illness and death if they contract
12   COVID-19. People with post-traumatic stress disorder have weakened immune systems
13   and increased vulnerability to infection.
14
15   ORR Guidance re: COVID-19
16      13. I have read and analyzed the March 13, 2020 “COVID-19 Interim Guidance for
17   ORR Programs” (ORR Guidance). While the document states that it “is based on the
18   Centers for Disease Control and Prevention (CDC) recommendations,” the policies
19   contravene multiple CDC recommendations and are inadequate to protect children
20   forced to live in congregate settings against COVID-19 illness.
21      14. Most importantly, the ORR Guidance makes no mention of social or physical
22   distancing between children or staff, nor of limiting the gathering of groups of children
23   or staff. As discussed above, there is widespread consensus in the public health
24   community that social distancing is critical to preventing the further spread of COVID-
25   19.
26      15. The CDC has repeatedly called for the American public to limit social interactions
27   and avoid gatherings in groups of more than 10 people.
28

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 1     16. The ORR Guidance nowhere mentions that children should have independent
 2   access to hand washing and sanitizing supplies. As discussed above, regular
 3   handwashing with water and soap is critical to preventing the further spread of COVID-
 4   19.
 5     17. The ORR Guidance sets out no plan to manage spread of the disease when more
 6   children need to be quarantined than isolation rooms can accommodate.
 7     18. The ORR Guidance does not provide information on managing the spread of
 8   disease among particularly vulnerable children, such as those with heart disease,
 9   diabetes, asthma or other chronic respiratory disease, or those with compromised
10   immune systems. The Guidance directs no special measures to protect these populations.
11   The same protocols apply to all children whether or not they have an increased risk of
12   serious illness or death.
13     19. The ORR Guidance does not provide a screening or testing protocol for children
14   not deemed to be “at risk” but still exhibiting COVID-19 symptoms. If a child has a
15   fever, this would likely be caught by ORR’s twice-daily temperature check requirement.
16   However, if a child has a cough or shortness of breath and is not defined as “at risk” due
17   to no known COVID-19 exposure, then that may be a missed case that allows the virus
18   to spread.
19     20. It is my expert opinion that the policies expressed in the ORR Guidance are
20   inadequate and contrary to current CDC guidelines as well as public health practice
21   being adopted during the current pandemic. We are currently in an emergency situation.
22   Even if ORR issues more stringent guidance in the upcoming days or weeks, it will
23   likely be too late, especially for facilities located in areas of high community
24   transmission, such as New York and California.
25
     CDC COVID-19 Guidance for Correctional and Detention Facilities
26
       21. I have reviewed the CDC “Interim Guidance on Management of Coronavirus
27
     Disease 2019 (COVID-19) in Correctional and Detention Facilities” (CDC Detention
28

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1    Facility Guidance) issued March 23, 2020, https://www.cdc.gov/coronavirus/2019-
2    ncov/community/correction-detention/guidance-correctional-detention.html. The CDC
3    Detention Facility Guidance highlight many ways in which people in detention facilities
4    and congregate environments are at a higher risk of contracting COVID-19.
5     22. The CDC Detention Facility Guidance acknowledges that “(i)ncarcerated/detained
6    persons live, work, eat, study, and recreate within congregate environments, heightening
7    the potential for COVID-19 to spread once introduced.” Further, it states that “(t)here
8    are many opportunities for COVID-19 to be introduced into a correctional or detention
9    facility, including daily staff ingress and egress; transfer of incarcerated/detained
10   persons between facilities and systems, to court appearances, and to outside medical
11   visits; and visits from family, legal representatives, and other community members.”
12    23. The CDC Detention Facility Guidance instructs facilities to “implement social
13   distancing strategies to increase the physical space between incarcerated/detained
14   persons (ideally six feet between all individuals, regardless of the presence of
15   symptoms,” but acknowledges that “not all strategies will be feasible in all facilities.”
16   Social distancing does not work when it is only followed part of the time. The CDC’s
17   “Interim U.S. Guidance for Risk Assessment and Public Health Management of
18   Healthcare Personnel with Potential Exposure in a Healthcare Setting to Patients with
19   Coronavirus Disease (COVID-19)” issued on March 7, 2020 states that “(d)ata are
20   insufficient to precisely define the duration of time that constitutes a prolonged
21   exposure. However, until more is known about transmission risks, it is reasonable to
22   consider an exposure greater than a few minutes as a prolonged exposure. Brief
23   interactions are less likely to result in transmission; however, clinical symptoms of the
24   patient and type of interaction (e.g., did the patient cough directly into the face of the
25   HCP) remain important” and “(e)xamples of brief interactions include: briefly entering
26   the patient room without having direct contact with the patient or their
27   secretions/excretions, brief conversation at a triage desk with a patient who was not
28   wearing a facemask.” Repeated interactions, even brief, that occur throughout the day in

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 1   these facilities, are each an independent opportunity for transmission of infection.
 2   Because it is not known whether people who have recovered from infection develop
 3   immunity to subsequent infections with COVID-19, and because transmission may occur
 4   when the infected person has no symptoms, each interaction between a staff member and
 5   a detainee and each interaction between two individual detainees or two individual staff
 6   members is an independent opportunity with the same risk of infection. The risks are
 7   additive with each interaction.
 8    24. The CDC Detention Facility Guidance states that “The ability of
 9   incarcerated/detained persons to exercise disease prevention measures (e.g., frequent
10   hand washing) may be limited and is determined by the supplies provided in the facility
11   and by security considerations.” Facilities are instructed to provide no-cost access to
12   liquid soap (or bar soap), running water, and hand drying supplies.
13    25. Detention facilities are instructed to “(o)ffer the seasonal influenza vaccine to all
14   incarcerated/detained persons (existing population and new intakes) and staff throughout
15   the influenza seasons.” Preventing influenza cases in these facilities can speed the
16   detection of COVID-19 cases and reduce pressure on healthcare resources.
17   26. Even if all of the recommendations made in the CDC Detention Facility Guidance
18   are followed, the conditions of detention are such that detained children in ORR custody
19   would still be at high risk of contracting COVID-19. Because this virus is transmitted
20   through droplets, through the air, and on surfaces, and because people who do not have
21   symptoms but are infected transmit the virus to others, even one infected person in a
22   facility, either a detainee or a staff member, can infect the majority of people in the
23   facility. This is worsened by the crowded conditions in the facilities.
24   27. If we are to contain the spread of the COVID-19 virus, we must relocate as many
25   people as possible out of congregate settings. If we prevent people from practicing
26   adequate physical distancing from others and the other steps outlined above, institutional
27   centers will become clusters in which high percentages of persons are infected with
28

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1    COVID-19. Such clusters not only endanger those who are immediately infected, but the
2    health of those residing in the communities in which congregate facilities are located.
3
4    Recommendations
5     28. It is my professional opinion that all children held in ORR facilities should be
6    moved immediately to settings with adequate opportunity for safe distance and adequate
7    hand washing and sanitation, and be afforded a seasonal influenza vaccine immediately.
8    Even if ORR facilities intend to meet the guidance put forth by the CDC on March 23,
9    2020, they are not uniformly meeting it now, and so people are at risk for serious illness,
10   death, and disability today.
11    29. The Office of Refugee Resettlement should immediately expedite the release of
12   detained children to their sponsors. Once released, children should self-quarantine for 14
13   days in order to ensure that they are not exhibiting symptoms of COVID-19 and to
14   ensure the safety of their new communities. Reducing the population of children in ORR
15   facilities is critical to minimizing the risk for outbreaks in facilities and preventing the
16   spread of the virus to children, ORR staff members, and communities across the United
17   States.
18    30. To the extent there is absolutely no other option but for children to remain detained
19    in congregate settings, basic principles of public health require HHS to:
20         a. Allow each child enough space to maintain a distance of at least six feet from
21             others;
22         b. Ensure that all children have free and consistent access to water, soap, and
23             cleaning products;
24         c. Transfer children from high-density placements (facilities with 10 or more
25             children) to low-density placements;
26         d. Ensure that symptomatic children are immediately removed from the general
27             population and have prompt access to single-occupancy negative pressure
28             rooms plus adequate medical care;

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 1        e. Ensure that facilities have plans in place if they have to quarantine more
 2            children than there are single-occupancy rooms;
 3        f. Provide staff and children with adequate personal protective equipment
 4            including fit-tested N-95 masks and adequate instruction regarding proper
 5            donning and doffing procedures. Require appropriate measures for children
 6            who are not “at-risk” under ORR’s definition but are still exhibiting symptoms
 7            consistent with COVID-19 and those who are at high-risk for serious illness due
 8            to pre-existing conditions or compromised immune systems.
 9   31. A principal objective of physical distancing and self-quarantine requirements is to
10   slow the spread of COVID-19 illness so as not to overwhelm available medical care
11   resources. I am advised that ORR may contract with congregate detention facilities in
12   rural areas, which typically have fewer medical resources than are to be found in large
13   towns and cities. An outbreak of COVID-19 disease in such facilities would quickly
14   overwhelm local health care resources, requiring ORR either to leave children untreated
15   or else transport them to distant hospitals and clinics, where they would risk spreading
16   the infection to more health care workers and the community in regions in which the
17   disease has yet to become prevalent. It is therefore in the public’s interest to remove as
18   many children from congregate care as soon as possible.
19     32. Even if all of the above recommendations for HHS facilities are followed, the
20   inherent conditions of congregate detention are such that detained children would still be
21   at high risk for exposure to COVID-19. In order to contain the spread of the COVID-19
22   virus, and to protect children, the government must relocate as many people as possible
23   out of HHS facilities.
24     33. I declare under penalty of perjury that the foregoing is true and correct. Executed
25   on March 24, 2020 in North Bay Village, Florida.
26
27                                                    _____________________________________

28                                                    Julie DeAun Graves

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                           Julie D. Graves, M.D., M.P.H., Ph.D., F.A.A.F.P.

Current positions:

Family medicine and public health physician in private practice

Associate Director of Clinical Services, Nurx


Education:

06/1979 Bachelor of Arts, Rice University, Houston, Texas
Majors: Biology, Health and Physical Education

06/1983 Doctor of Medicine
The University of Texas Southwestern Medical School, Dallas, Texas

12/1992 Master of Public Health
The University of Texas Health Science Center (UTHealth) School of Public Health, Houston, Texas
Concentration: Health Services Organizations
Thesis: Preferences for Perinatal Health Decisions: A Critical Appraisal

12/2011 Doctor of Philosophy
The University of Texas Health Science Center (UTHealth) School of Public Health, Houston, Texas
Division of Management, Policy, and Community Health
Major: Health Policy
Minors: Management, Biostatistics
Dissertation: Analysis of Policy Issues Surrounding the Electronic Medical Record

Medical licensure:

State: Texas

License No: G5110

Initial Date: 08/23/1983

Renewal/Expiration Date: 02/28/2020



State: Wisconsin

License No: 53273

Initial Date: 06/23/2009

Renewal/Expiration Date: 10/31/2021

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    State: Alabama

    License No: 12408

    Initial Date: 10/22/1985

    Renewal/Expiration Date: 12/31/1986



    State: Nebraska

    License No: TX-G5110

    Initial Date: 07/20/1985

    Renewal/Expiration Date: 07/26/1985



    State: Florida

    License No: ME134326

    Initial Date: 10/25/2017

    Renewal/Expiration Date: 01/31/2022



    State: District of Columbia

    License No: MD045899

    Initial Date: 02/26/2018

    Renewal/Expiration Date: 12/31/2020



    State: Maryland

    License No: D84791

    Initial Date: 02/16/2018

    Renewal/Expiration Date: 09/30/2020




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Certifications:


American Board of Family Medicine: Certificate Number 1070893973

Date certified: 07/1989
Dates of Re-certification:
Jul 14, 1989 - Jul 13, 1995
Jul 14, 1995 - Jul 12, 2001
Jul 13, 2001 - Aug 01, 2008
Aug 02, 2008 - Apr 09, 2017
Apr 10, 2017 -12/2027

Advanced Cardiac Life Support 5/1983-12/94, 01/1997-12/2001, 01/2003-12/2018

Advanced Trauma Life Support 01/2003-12/2019

Pediatric Advanced Life Support 01/2004-12/2017


Languages Spoken
English – mother tongue
Spanish – basic medical
German – basic


Previous Academic Appointments and Activities

03/2018-03/2019
Vice-Chair for Education, Department of Family Medicine, Georgetown University School of
Medicine

05/2017-12/2017
Associate Professor of Epidemiology, University of Medicine and Health Sciences, St. Kitts and Nevis

06/2015-08/2019
Adjunct Associate Professor of Management, Policy, and Community Health, The University of Texas
Health Science Center (UTHealth) School of Public Health

Lecturer: PH 3620, Principles and Practice of Public Health
Lecturer: PH 5220, Gender and Leadership

Preceptor: Occupational Medicine Residency program

Dissertation Committee member: PhD student Stella Okoroafor, MD, MPH (in process)




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06/2015-05/17
Faculty, Texas Department of State Health Services Preventive Medicine Residency program

Infectious Diseases and Chronic Disease Preventive Lectures Series Coordinator

06/2014
Visiting Faculty, Tanzania Training Center for International Health

03/2013-08/2014
Associate Professor of Behavioral and Clinical Medicine and Public Health, University of Sint
Eustatius School of Medicine

Course director: Epidemiology, Medical Ethics, Biostatistics

09/2012-08/2013
Adjunct Assistant Professor of Epidemiology, The University of Texas Health Science Center
(UTHealth) School of Public Health

Dissertation Committee Member, DrPH student Christina Socias (completed)

Associate Professor of Behavioral and Clinical Medicine, American University of the Caribbean
School of Medicine, Sint Maarten

Course director and principal faculty, Medical Ethics

Faculty, Introduction to Clinical Medicine

01/2012-09/2012
Assistant Professor of Family and Community Medicine, The University of Texas Health Science
Center at San Antonio, Texas

06/2009-08/2009
Graduate Teaching Assistant, The University of Texas Health Science Center (UTHealth) School of
Public Health

PH 3620 Principles and Practice of Public Health (on-line course)

11/2002-05/2005
Faculty physician, Austin Medical Education Programs, Family Medicine residency program, Austin,
Texas

01/1995-12/1999
Clinical Assistant Professor of Family Medicine, Texas A&M University Brazos Valley Family
Medicine residency program, College Station, Texas




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11/1992-05/1995
Clinical Assistant Professor of Family Medicine, Baylor College of Medicine, Houston, Texas

Obstetrics fellowship co-coordinator

08/1989-08/1991
Assistant Professor of Family and Community Medicine, The University of Texas Houston Health
Science Center

Founding course director, Family Medicine Clinical Clerkship

Co-author, HRSA Primary care training grant


Research Activities

01/2012-09/2012
ReACH Scholar, Center for Research to Advance Community Health, University of Texas Health
Science Center at San Antonio
Project: Quality assurance using electronic health records
Principle Investigator: Barbara J. Turner, MD, MSED, MSCP
Internal funding.

01/2007-12/-2009
Research Associate, Health Policy Institute, University of Texas School of Public Health
Projects: Translational research applications of public policy analysis; Food oases
Principle investigators: Stephen Linder, PhD and Eduardo Sanchez, MD, MPH
Internal funding

01/1991-12/1992
Research Associate, Center for Health Policy Studies, University of Texas School of Public Health
Project: Health manpower analysis for primary care in Texas
Principle investigators: Virginia Kennedy, PhD and Frank Moore, PhD
Funding: Texas Higher Education Coordinating Board

08/1989-08/1991
Project staff, University of Texas Houston Health Science Center
Project: Cholesterol reduction with high rice fiber diets
Principle investigator: Mark E. Clasen, MD, PhD
Funding: National Rice Council

09/1988-06/1989
Principle investigator, McLennan County Medical Education and Research Foundation
Project: Obstetrical Practice by Texas Family Physicians
Funding: Texas Higher Education Coordinating Board




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Governmental Public Health Practice

06/2017-3/2019
Consultant to Ministry of Health, St. Kitts and Nevis, for disaster preparedness and cannabis health
effects

02/2015-05/2017
Regional Medical Director, Texas Department of State Health Services, Health Services Region 6/5S
(Houston area, population 7 million)

01/2009-12/2011
Medical consultant, Texas Medicaid Office of Inspector General, Austin, Texas

01/2005-12/2012
Quality monitor and investigator, Texas Medical Board, Austin, Texas

09/2009-05/2011
Medical Services Coordinator for State Supported Living Centers, Texas Department of Aging and
Disability Services, Texas (statewide)

Member, Institutional Review Board

05/2001-22/2002
Medical Consultant, Texas Department of Health, Children’s Health and Infectious Disease
Epidemiology and Surveillance, Austin, Texas (statewide)

Chair, Institutional Review Board, Texas Department of Health

06/1995-12/1999
Educational consultant, Texas WIC (Women, Infants, and Children) nutrition program

01/1994-12/1995
Utilization Review Physician, Lone Star Texas Medicaid managed care program


Clinical Experience

04/2005-02/2015 and 06/2017 – 3/2018
Private practice of family, hospitalist, and emergency medicine, Texas, Sint Maarten, Croatia, Carnival
Cruises

09/2005 - 11/2005
Emergency Room Physician, U.S. Army MEDDAC, Wuerzburg, Germany Combat Support Hospital

01/2000-12/2001
Medical Director, Mother's Milk Bank at Austin (volunteer, co-founder)



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09/1991-08/1992
Family physician, University of Houston student health service

09/1988-06/1989
Fellowship in Faculty Development, McClennan County Medical Education Research Foundation,
Waco, Texas

06/1986-09/1988
Residency in Family Medicine, St. Paul Medical Center, Dallas, Texas

06/1985-05/1986
Locum tenens primary care and emergency medicine physician, CompHealth, Inc., Florida, Alabama,
Nebraska, Texas

07/1984-05/1985
Residency training in Anesthesiology, University of Florida Shands Hospital, Gainesville, Florida

07/1983-06/1984
Internship in General Surgery, Parkland Memorial Hospital, Dallas, Texas


Private Sector

01/2009-12/2012
Principal, InGenius Strategies, LLC (health information technology consulting)

01/2005-12/2009
Consultant, Texas Medical Foundation Health Quality Institute (Medicare Quality Improvement
Organization for Texas)

05/2005-08/2009
Chief Medical Officer, Practice IT, LLC (health information technology vendor)

01/1995-12/1996
Public policy advocacy, Texas Tobacco Education Project

Honors and Awards:

Outstanding Faculty, Texas Department of State Health Services Preventive Medicine Residency,
06/2017

Team Spirit Award, Texas Department of Health, 11/2002

C. Frank Webber Award for Excellence in Oncology, M.D. Anderson Cancer Center and the Texas
Academy of Family Physicians, 05/1998

Fellow of the American Academy of Family Physicians, granted 09/1996

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                                           Bibliography

Textbook chapters

1. Moy, Julie Graves. “Cardiac Arrest”, in Swanson’s Family Practice Review, 6th Edition.
Philadelphia: Elsevier Mosby, 2008.

2. Moy, Julie Graves. “Advanced Trauma Life Support”, in Swanson’s Family Practice Review, 6th
Edition. Philadelphia: Elsevier Mosby, 2008.

3. Moy, Julie Graves. “Domestic Violence”, in Swanson’s Family Practice Review, 6th Edition.
Philadelphia: Elsevier Mosby, 2008.

4. Moy, Julie Graves. “The Limping Child”, in Swanson’s Family Practice Review, 6th Edition.
Philadelphia: Elsevier Mosby, 2008.

5. Moy, Julie Graves. “Sickle Cell Anemia”, in Swanson’s Family Practice Review, 6th Edition.
Philadelphia: Elsevier Mosby, 2008.

6. Moy, Julie Graves. “Lymphomas and Leukemias”, in Swanson’s Family Practice Review, 6th
Edition. Philadelphia: Elsevier Mosby, 2008.

7. Moy, Julie Graves. “Common Problems in the Newborn”, in Swanson’s Family Practice Review,
6th Edition. Philadelphia: Elsevier Mosby, 2008.

8. Moy, Julie Graves, Pfenninger, John. “Peripheral Nerve Blocks and Field Blocks,” in Pfenninger
JL, Fowler GC (eds.). Procedures for Primary Care Physicians. St. Louis, Missouri: Mosby, 1994,
2002.

9. Moy, Julie Graves. “Induction of Labor,” in Rakel RE. Conn’s Current Therapy. WB Saunders,
1997.

10. Moy, Julie Graves. “Development of Clinical Guidelines,” in Mengel M, Fields S (eds.). Guide to
Clinical Expertise. New York: Plenum Press, 1996.

11. Moy, Julie Graves. “Bites and Stings,” in Taylor RB (ed.). Family Medicine: Principles and
Practice. New York: Springer-Verlag, 1994.

12. Moy, Julie Graves. “Nasogastric Tube and Salem Sump Insertion,” in Pfenninger JL, Fowler GC
(eds.). Procedures for Primary Care Physicians. St. Louis, Missouri: Mosby, 1994.

13. Moy, Julie Graves. “Informed Consent,” in Pfenninger JL, Fowler GC (eds.). Procedures for
Primary Care Physicians. St. Louis, Missouri, Mosby, 1994.

14. Duiker SS, Moy, Julie Graves. “Dyspareunia,” in Griffith HW, Dambro M (eds.). The Five-
Minute Clinical Consult. Philadelphia: Lea and Febiger, 1993 – 1997.


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15. Moy, Julie Graves, Duiker, SS. “Sexual Dysfunction in Women”, in Griffith HW, Dambro M
(eds.). The Five-Minute Clinical Consult. Philadelphia: Lea and Febiger, 1993, 1994, 1995.

16. Duiker SS, Moy, Julie Graves. “Community Intervention Strategies in Preventive Cardiology,” in
Fuentes F (ed.). Preventive Cardiology Computer Modules, Houston: University of Texas Houston
Health Science Center, 1991.


Peer-reviewed publications

1. Nguyen DT, Teeter LD, Graves J, Graviss EA. Characteristics Associated with Negative Interferon-
γ Release Assay Results in Culture-Confirmed Tuberculosis Patients, Texas, USA, 2013–2015.
Emerging Infectious Diseases. Volume 24, Number 3—March 2018.

2. Liu EL, Morshedi B, Miller BL, Isaacs SM, Fowler RL, Chung W, Blum R, Ward B, Carlo J,
Hennes H, WEbseter F, Perl T, Noah C, Monaghan R, Tran AH, Benitez F, Graves J, Kibbey C, Kelin
KR, Swienton RE. Dallas MegaShelter Medical Operations Response to Hurricane Harvey. Disaster
Medicine and Public Health Preparedness. 2017 Dec 6:1-4.

3. Wiseman R, Weil L, Lozano C, Johnson T, Jin S, Moorman AC, Foster MA, Mixcon-Hayden T,
Khudyahov Y, Kuhar DT, Graves JG. Healthcare-associated Hepatitis A Outbreak, Texas, 2015.
MMWR, April 29, 2016 / 65(16);425–426.

4. Socias C, Liang Y, Delclos G, Graves J, Hendrickson E, Cooper S. The Feasibility of Using
Electronic Health Records to Describe Demographic and Clinical Indicators of Migrant and Seasonal
Farmworkers. Journal of Agromedicine, 21:71-81, 2016.

5. Moy, Julie Graves. Texas State-wide Health Information Technology Policy in 2007: Regional and
constituency-specific initiatives move forward, but risk failure without coordination and funding from
state government. Texas Medicine 105(1):55-63, 2009.

6. Moy, Julie Graves. Spirometry in Urgent Care. Urgent Care, May 2007.

7. Holleman W, Holleman MC, Moy, Julie Graves. Continuity of Care and Ethics in Managed Care.
Archives of Family Medicine, 1999;8.

8. Mullen PD, Pollack KI, Titus JP, Sockrider MM, Moy, Julie Graves. Smoking Cessation Practices
of Texas Obstetricians. Birth, 1998; 25:25-30.

9. Roberts R, Bell H, Wall E, Moy, Julie Graves, Hess G, Bower G. Trial of Labor or Repeat
Caesarean Section: The Woman’s Choice. Archives of Family Medicine. 1997;6:120-125.

10. Holleman W, Holleman MC, Moy, Julie Graves. Managed Care and Ethics: A Match Made in
Heaven or Strange Bedfellows? The Lancet 1997; February 8.

11. Moy, Julie Graves, Realini JP. Guidelines for Preventive Therapy with Estrogen and Progesterone
for Postmenopausal Women. Journal of the American Board of Family Practice 1993;6:153-162.

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12. Berg AO, Moy, Julie Graves. Policy Review: Guidelines for the Diagnosis and Treatment of
Asthma. Journal of the American Board of Family Practice 1992;5:629-634.

13. Moy, Julie Graves, Clasen ME. The Patient with Gonococcal Infection. Primary Care 1990;17:59-
83.

14. McCraney, Julie Graves. The Status of Obstetrical Practice by Texas Family Physicians. Texas
Medicine 1989;86:53-6.


Monographs, non-refereed publications, government reports, and published abstracts

1. Moy, Julie Graves, Sanchez E. Food Oases: A White Paper. University of Texas School of Public
Health Institute for Health Policy. May 2008.

2. Moy, Julie Graves. Texas End-of-Life Care Law. Texas Medical Association, 2005.

3. Kaye CI, Cody JD, Canfield M, Martinez J, Van de Putte L, Moy, Julie Graves, Borg M,
Stanley S, Wang J, Visio P. The Development of the Texas State Genetics Plan and a Plan for
Integrated Data Infrastructure for Genetic Service. University of Texas Health Science Center
at San Antonio and Texas Department of Health, 2002

4. Moy, Julie Graves. Medical Ethics and Professionalism. Texas Medical Association, February
1999, updated 2004.

5. Moy, Julie Graves. Family Physicians on the Internet. Texas Family Physician 1996, January/
February.

6. Moy, Julie Graves. Catastrophe Theory and Chaos: A Means to Understand What Happens
in the Clinical Setting. North American Primary Care Research Group Annual Meeting, San Diego,
California, November 1993. Abstract.

7. Grimes R, Brimlow D, Moy, Julie Graves. HIV/AIDS Interdisciplinary Clinical Preceptorships:
Design, Implementation, and Evaluation. American Public Health Association, 1991. Abstract.

8. Grimes R, Moy, Julie Graves. Clinical Mini-Residency for Primary Care Medical School
Faculty. AIDS Education and Training Centers Annual Meeting, San Francisco, California, December
14, 1991.

9. Moy, Julie Graves, Fowler GC. Sexually Transmitted Disease. Home Study Self-Assessment
Program, number 149. American Academy of Family Physicians, October 1991.

10. Moy, Julie Graves. Impact of Medicare Reform upon Family Medicine Research. Society of
Teachers of Family Medicine Research News 1990:3:1-3.

11. McCraney, Julie Graves. The Role of the Family Physician in the Management of Breastfeeding.
Texas Family Physician 1989, May/June.

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12. McCraney, Julie Graves. The Resource-Based Relative Value Scale. Texas Family Physician
1989, March/April.

13. McCraney, Julie Graves. A Resident Considers AIDS. Texas Family Physician 1988, May/June.


Letters to the Editor

1. Moy, Julie Graves. Flu Season Offers Opportunities to Keep Patients Healthy and out of the
Hospital. Travis County Medical Association Journal, 2003; 49:18-19.

2. Moy, Julie Graves. Putting babies “back to sleep”. Journal of the American Medical Association.
1999 March 17:281 (11): 983.

3. Moy, Julie Graves, Rourke J. Physician’s Breastfeeding Course in Texas. Academy of
Breastfeeding Medicine News and Views 1996:2(1).

4. Moy, Julie Graves. Who Practices in the ER? Health Affairs. March 2008 27:2w84-w95.


Service on State and National Panels and Committees:

Health Policy Panel Membership

1. Texas Department of Health Panel on Infant Feeding (co-author, Texas Department of Health
Position Statement on Infant Feeding) 1997

2. National Heritage Insurance Company Medical Affairs Committee on Pilot Managed Care
Program for Texas Medicaid Program 1994

3. National Institutes of Health Consensus Panel on Treatment of Cervical Dysplasia, Bethesda
System Classification Development Team (Report published in the Journal of the American
Medical Association 1994: 271, Kurman et al.) 1994

4. Rand Corporation / Health Care Financing Administration Medicaid Necessity, Outcomes,
and Appropriateness Study on Pediatric Asthma 1992

5. Texas Department of Human Services Physician Payment Advisory Committee 1990

6. March of Dimes National Committee on Perinatal Health (co-author, Toward Improving the
Outcomes of Pregnancy, monograph published by March of Dimes, 1993)

7. Texas Department of Human Services Indigent Care Advisory Committee 1989




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Policy Reviews for American Academy of Family Physicians Task Force on Clinical Policies
1990-94

1. Agency for Health Care Policy and Research Pressure Sore Panel

2. National Heart, Lung, and Blood Institute Panel on Treatment of Asthma During Pregnancy
and Lactation

3. National Heart, Lung, and Blood Institute Guidelines for the Diagnosis and Treatment of
Asthma

4. American Academy of Ophthalmology Policy on Strabismus

5. Expert Panel on Preventive Services paper on Iron Supplementation During Pregnancy

6. Expert Panel on Preventive Services paper on Testing for D Isoimmunization in Pregnancy

7. American Academy of Pediatrics practice parameter on Treatment of Acute Asthma Exacerbation in
Children

8. American Academy of Pediatrics practice parameter on Hyperbilirubinemia in the Newborn
Service on Medical School Committees:

Member, Practice Council, The University of Texas Health Science Center (UTHealth) School of
Public Health at Houston, 2014 -present

Member, Council on Education for Public Health (CEPH) Expanded Steering Committee, The
University of Texas Health Science Center (UTHealth) School of Public Health at Houston,
2016.

Member, Curriculum Committee, The University of Texas Health Science Center Medical School,
1990

Vice-chair, Institutional Review Board, University of Medicine and Health Sciences, St. Kitts and
Nevis, 2017


Editorial Review for Medical Journals:

2018-present Peer Reviewer, American Family Physician

2017-present Peer Reviewer, Texas Public Health Association Journal

2001-2016     Peer Reviewer, Journal of Family Practice

2010-2017     Peer Reviewer, Family Practice Management

1997          Peer Reviewer, Feminist Economics
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1995-1998      Editorial Review Board, Journal of Human Lactation

1994-1997      Peer Reviewer, American Family Physician

1993-2013      Peer Reviewer, Texas Medicine

1992-1997      Peer Reviewer, Archives of Family Medicine

1992-1995      Peer Reviewer, Family Medicine

1990-1993      Editorial Committee, Texas Medicine

1988-1989      Editor, Texas Family Physician “Resident Forum”



Presentations at Scientific Meetings:

 1. Garrison R, Graves J. An Analysis of Barriers to Care for Patients Requiring Rabies Post-
    exposure Prophylaxis in Texas Department of State Health Services Region 6/5S. Texas Public
    Health Association 93rd Annual Meeting. March 27, 2017, Fort Worth, Texas

 2. Ramsey J, Mayes B, Graves J. Demographics of Child Fatality in Rural Southeast Texas. Texas
    Public Health Association 93rd Annual Meeting. March 27, 2017, Fort Worth, Texas (poster)

 3. Jones R, Abrego D, Deeba R, Varghese C, LaBar C, Mayes B, Graves J. Public Health
    Prevention Needs for Domestic Minor Sex Trafficking in Rural Southeast Texas Counties. Texas
    Public Health Association 93rd Annual Meeting. March 27, 2017, Fort Worth, Texas

4. Graves J. Vector-borne Disease Public Policy. South Texas Tropical Medicine and Vector Borne
   Disease conference. February 24, 2017. South Padre Island, Texas

5. Martinez D, Jin S, Milligan S, Haynie A, Arenare B, Wiseman R, Weil L, Lozano C, Johnson
   T, Graves J. Investigation of a healthcare associated Hepatitis A cluster in and nearby Harris County,
   Texas. Council of State and Territorial Epidemiologists Annual Meeting. June 2017. Anchorage
   Alaska (poster).

6.   Lin H, Weil L, Evans D, Shaw D, Rosen G, Graves J. Regional Epidemiology Coordination
     Plan: effective use during a multijurisdictional outbreak investigation. Texas Public Health
     Association 92nd Annual Education Conference, April 2016, Galveston, Texas

7. Rosen G, Lin H, Swanson K, Shaw D, Weil L, Evans D, Graves J. Local challenges to state
   policy: Evaluating the interim guidance for monitoring and movement of persons with potential
   Ebola Virus exposure in Southeast Texas --October-December, 2014. American Public Health
   Association Annual Meeting, October 2015, Chicago, Illinois.



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8. Graves J. Health Information Technology Policy in Germany, Switzerland, and Austria: Lessons
   for US Policy Makers. American Public Health Association Annual Meeting, San Diego,
   California, October 2012

9. Graves J, Sanchez E. Meeting the Health Needs of the Emerging Majority: Applying Lessons
   Learned from Border Health Programs to Eliminate Health Disparities throughout the U.S.
   American Public Health Association Annual Meeting, San Diego, California, October 2008

10. Graves J, Aday L. Decision Analysis and Preferences for Perinatal Health States. Agency for
    Health Care Policy and Research Third Primary Care Conference. Atlanta, Georgia, January 1993

11. Moy, Julie Graves, Susman J, Berg A. Critiquing Clinical Policies. Society of Teachers of
    Family Medicine Annual Meeting, San Diego, California, April 1993

12. Moy, Julie Graves, Schindler J, Duiker SS. Teaching Ambulatory Care in the Urban Setting,
    American Association of Medical Colleges Southern Group for Educational Affairs, Houston,
    Texas, April 1991

13. Moy, Julie Graves, Clasen ME, Donnelly J. Implementation of a Required Third year Clerkship
    in Family Medicine after Legislative Directive. Society of Teachers of Family Medicine
    Predoctoral Education Conference, San Antonio, Texas, February 1991.

14. Moy, Julie Graves, Goertz R. Legislative Directive for a Third year Family Medicine Clerkship.
    Society of Teachers of Family Medicine, Seattle Washington, May 1990.

15. Conard S, Dahms L, McCraney, Julie Graves. Stress in Residency: External Causes,
    Manifestations, and Impairment in Family Medicine as Compared to Other Specialties. Texas
    Academy of Family Physicians, Austin, Texas, September 1988, first place; also at American
    Academy of Family Physicians, Los Angeles, October 1988.


Invited Lectures

1. The US Health Care System in Transition. University of Medicine and Health Sciences Health
   Policy Lecture Series. July 13, 2017. Basseterre, St. Kitts and Nevis.

2. Legislative Issues Regarding Syndromic Surveillance. Texas Health Information
   Management Systems Society Legislative Conference. April 12, 2017, Austin, Texas.

3. Cross-Jurisdictional Coordination for Super Bowl LI Planning. Local Health Authorities
   Symposium. Texas Public Health Association 93rd Annual Meeting. March 27, 2017, Fort Worth,
   Texas

4. Texas Syndromic Surveillance System. Health Information Management Systems Society,
   Austin Chapter, August 9, 2016

5. A Congressional Forum on the Zika Virus and a Discussion of an Action Plan for Houston and
   Harris County. Good Neighbor Health Clinic, Houston, March 10, 2016.
                                              Page032
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6. Telemedicine for Children with Special Health Care Needs. Caring for Children with Special
   Health Care Needs in Medicaid Managed Care, Texas Health and Human Services
   Commission, Austin, Texas, March 8, 2002. With Nora Taylor Belcher

7. Medicaid and Managed Care. Women in Government Forum on Medicaid, Austin, Texas,
   September 16, 1995.

8. Managed Care and Managed Competition. Southeast Texas Chapter of the International
   Patient Education Council, University of Texas MD Anderson Cancer Center, June 2, 1993.

9. AIDS and Adolescents: HIV Policy Concerns. National Conference of State Legislatures
   Women’s Network, Mobile, Alabama, May 20, 1993.

10. Vaginal Birth after Cesarean. Visiting Professor in Perinatal Health, University of Kansas
   School of Medicine Perinatal Conference, Kansas City, Kansas, April 3, 1992.

11. The Development of Medical Specialties in America. History of Medicine Lectures,
    University of Texas Houston Health Science Center, April 25, 1991.

Presentations at Professional Development Courses

1. Analysis of Policy Issues Surrounding the Electronic Medical Record. Grand Rounds.
   University of Texas Health Science Center at San Antonio. October 14, 2011. One hour
   Category I credit.

2. Barriers to Preventive Care for Women with Disabilities. Center for Health Disparities
   Annual Conference, University of North Texas Health Science Center, Ft. Worth, Texas, May 8,
   2010. One hour Category I credit.

3. Clinical Indicators in Medicare’s Hospital Quality Improvement Project. Houston, Texas.
   January 13, 2006. One hour Category I credit.

4. Recent Changes to Texas End-of-Life Care Law. St. David’s Medical Center, Austin, Texas.
   October 12, 2004. One hour Category I credit, one hour Texas Ethics credit.

5. Aggressive Treatment of Type II Diabetes: What’s New in Type II Diabetes and Improving
   Chronic Disease Management Care with a Systems Approach. Texas Academy of Family
   Physicians. El Paso, Texas, May 2002. Two hours Category I credit.

6. Update in Medical Ethics and Professionalism. Central Texas Continuing Education
   Consortium. Austin, Texas, October 1999. One hour Category I credit.

7. Breastfeeding Update. Grand Rounds. Columbia Bayshore Medical Center, Pasadena, Texas,
   July 16, 1998. One hour Category I credit.

8. Breastfeeding in Special Circumstances. American Academy of Family Physicians Annual
   Session September 17, 1997, Chicago IL, 1 hour prescribed credit. Taught again in Annual
   Session in 1998.
                                               Page033
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9. Breastfeeding Update. Presbyterian Hospital Combined Obstetrics/Pediatrics conference, April
  1997, 1 hour AMA Category I credit.

10. Intensive Course in Breastfeeding: Lactation Management Workshop for Physicians. April
   24, 1996, Houston, Texas. Four hours AAFP credit. Taught again Harlingen, Texas; Tyler,
   Texas; San Antonio, Texas, Dallas, Texas, Sugar Land, Texas in 1996, 1997, with Linda Zeccola,
   Tom Hale, Joanie Fischer, and Maryelle Van Landen

11. Intensive Course in Breastfeeding. March 11, 1996, Midland, Texas. Four hours continuing
    nursing education credit. Taught again in Gallup, New Mexico and Boise, Idaho.

12. Breastfeeding: Improving the Support System. Hermann Hospital/UT Houston Medical
    School Annual Perinatal Conference, Houston, Texas June 1996, 1 hour AMA credit.

13. Breastfeeding Update. Women’s Hospital, Houston, Texas, September 1996, 1 hour AMA
    Category I.

14. Breastfeeding: Enlightening the Myths. Abilene Perinatal Conference, October 1996, 1 hour
    AMA Category I credit.

15. Family Oriented Prenatal Care. Baylor College of Medicine Advances in Family Medicine.
    January 20, 1995. 1/2 hour prescribed credit.

16. American Academy of Family Physicians Clinical Policies Training Course. San Diego,
    California, April 1993. 9.5 hours prescribed credit, with Hanan Bell

17. Preference/ Utility Assessment in Outcomes Research. Agency for Health Care Policy and
    Research Third Primary Care Conference, Atlanta, Georgia, January 10, 1993. 1 hour prescribed
    credit.

18. Hormone Replacement Therapy. Clinical Recommendations Update at American Academy
    of Family Physicians Scientific Assembly, Orlando Florida, October 1993. 2 hours prescribed
    credit.

19. Problems and Solutions in Integrating Clerkship Teaching with Residency Education. McLennan
    County Medical Education and Research Foundation Program Management Conference, Austin,
    Texas, May 18, 1990. 1 hour prescribed credit, with Donald Koester

20. The Status of Obstetrical Practice by Texas Family Physicians: Implications for Residency
    Training. McLennan County Medical Education and Research Foundation Program Management
    Conference, Austin, Texas, February, 1989. 1 hour prescribed credit.

21. The Genogram in Prevention. University of Texas Houston Health Science Center/ Texas
    Academy of Family Physicians Prevention for the Nineties Conference, Houston, Texas, October
    30, 1989. 1 hour prescribed.




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Professional Organizations:

American Public Health Association 1992-present
2020-2023      Governing Councilor
2015-2016      Joint Policy Committee member; Co-chair, 2016
2016           Executive Board member, ex officio
2014-2017      Submission Review for Annual Scientific Meeting
2012-2016      Science Board member; Chair, 2016
Medical Care Section (Mentoring Chair 2018)
International Health Section

Florida Public Health Association 2019-present

Florida Medical Association 2019-present

Travis County Medical Society 1995-2014
1998-2001     Committee on Legislation; Chair 1999-2000
1996-1999     Alternate Delegate to Texas Medical Association

Harris County Medical Society 1989-1995 and 2015-2016
2015-2016     Committee on Communication and Public Health
2015-2016     Emergency Care Committee, ex officio
1995          Delegate to Texas Medical Association
1994-1995     Board of Medical Legislation
1990-1995     Committee on Membership and Medical Precepts
1992-1993     Executive Board, Central Branch
1991-1994     Alternate Delegate to Texas Medical Association
1991          Medical Student Committee
1991          Chair, Young Physicians Section
2015–present Committee on Communications and Public Health

Texas Medical Association 1987-2016
1995-2001    TexPAC (political action committee) Board of Directors
1994         Task Force on Hospital Staff-County Medical Society Relations
1993-1994    ad hoc Committee on Practice Parameters
1998         Council on Public Health
1991-1992    ad hoc Committee on International Medical Graduate Issues
1990-1994    TexPAC (political action committee) Vice-chairman
1990-1991    Young Physicians Governing Council
1989         Chairman, McLennan County MediCaring Task Force
1989-1991    Committee on Manpower
1989         Council on Socioeconomics
1987-1988    Committee on Health Insurance

American Medical Association 1987-1999, 2006-2008, 2010 -2011
1991        Executive Committee and Founding Member, Women’s Caucus
1989-1994   Medical Schools Section, Delegate for University of Texas Health Science Center,
            Houston
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   American Academy of Family Physicians 1987-present
   1993-1999   Peer Reviewer, Home Study/Self-Assessment Program
   1991-1995   Task Force on Clinical Policies for Patient Care; Executive Committee
   1993-1994   Vaginal Birth after Caesarean Section Policy Team

   Texas Academy of Family Physicians 1987-2016
   1997 -1998 Task Force on Governance
   1997        Task Force on Computers
   1996        Task Force on Health System Reform
   1997        Committee on Public Health and Scientific Affairs Chairman, 1995-1997
   1994-1996   Committee on Legislation and Public Policy Vice-chair, 1996
   1990        Vice-Chairman, Student Affairs Committee



   Names used due to marriage:

   Julie Graves 1957-1984 and 2012 - present
   Julie Graves McCraney 1984 - 1999
   Julie Graves Moy 1999 – 2012



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